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7
8                       IN THE UNITED STATES DISTRICT COURT

9                          EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,           ) CR: S-12-0322 MCE
                                         )
12                       Plaintiff,      ) STIPULATION AND
                                         ) ORDER CONTINUING STATUS
13   v.                                  ) CONVERENCE
                                         )
14                                       )
     ALEKSANDR LASTOVSKIY,               )
15   HOVIK MKRTCHIAN, TATYANA            )
     SHVETS, and ALEKSANDR               )
16   MIKHAYLOV,                          )
                                         )
17                       Defendants      )
                                         )
18
19
20
          IT IS HEREBY STIPULATED by and between Plaintiff United
21
     States of America and Attorney Richard Nahigian on behalf of
22
     Defendant HOVIK Mkrtchian, Attorney Scott Tedmon on behalf of
23
     Defendant Aleksandr Mikhaylov, Attorney Bruce Locke on behalf of
24
     Defendant Tatyana Shvets, and Attorney Michael Chastaine on
25
     behalf of Defendant Aleksandr Lastovskiy, that the status
26
     conference scheduled for September 26, 2013, be continued to
27
     December 5, 2013, at 9:00 a.m.
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29
                                            1
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1        The request to continue the status conference is made on the

2    ground that defense counsel needs additional preparation time.

3    The government has released a new round of discovery related to

4    the charged fraudulent tax return scheme. Defense counsel will

5    require additional time to review the reports and conduct

6    appropriate follow-up investigation. In addition, defense

7    counsel will need to consult with their respective clients

8    regarding the impact of the new information on potential defenses

9    available in the case.

10       The government and defendants agree that an exclusion of

11   time is appropriate under 18 U.S.C. 3161(h)(7)(B)(iv); Local Code

12   T4 (reasonable time to prepare). This exclusion of time includes

13   the period from September 26, 2013, up to and including December

14   5, 2013.

15       Richard Nahigian, Scott Tedomon, Michael Chastaine, and

16   Bruce Locke agree to this request and have authorized Assistant

17   United States Attorney Todd D. Leras to sign this stipulation on

18   their behalf following a review of it.

19
20   DATED: September 19, 2013                  By:   /s/ Todd D. Leras
                                                      TODD D. LERAS
21                                                    Assistant U.S. Attorney
22   DATED: September 19, 2013
23                                              By: /s/ Todd D. Leras for
                                                    RICHARD NAHIGIAN
24
                                                    Attorney for Defendant
25                                                  HOVIK MKRTCHIAN

26
27   DATED: September 19, 2013                   By: /s/ Todd D. Leras for
                                                     BRUCE LOCKE
28                                                   Attorney for Defendant
                                                     TATYANA SHVETS
29
                                            2
              Case 2:12-cr-00322-JAM Document 74 Filed 09/27/13 Page 3 of 3


1    DATED: September 19, 2013                     By: /s/ Todd D. Leras for
                                                       SCOTT TEDMON
2                                                      Attorney for Defendant
                                                       ALEKSANDR MIKHAYLOV
3
4    DATED: September 19, 2013                     By: /s/ Todd D. Leras for
5                                                      MICHAEL CHASTAINE
                                                       Attorney for Defendant
6                                                      ALEKSANDR LASTOVSKIY

7
8        IT IS HEREBY ORDERED:

9        1. The status conference set for September 26, 2013, is

10   continued to December 5, 2013, at 9:00 a.m.

11       2. Based on the stipulations and representations of the

12   parties, the Court finds that the ends of justice outweigh the

13   best interest of the public and defendants in a speedy trial.

14   Accordingly, time under the Speedy Trial Act shall be excluded

15   under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 (reasonable

16   time to prepare) from September 26, 2013, up to and including

17   December 5, 2013.

18       IT IS SO ORDERED.

19   Dated:    September 26, 2013

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